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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

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In Re: OIL SPILL BY THE OIL RIG
"DEEPWATER HORIZON" IN THE GULE OF
MEXICO, ON APRIL 20, 2010,

Applies to:

12-311, Cameron Int'l Corp. v. Liberty
Ins. Underwriters, Inc., a/k/a Liberty
Int'l Underwriters

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VIDEO DEPOSITION OF JAMES ENGEL
New York, New York
May 29, 2013

Reported by:
Rebecca Schaumloffel, RPR, CLR
Job No. 61441

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1 J. ENGEL
2 A. Yes. B
3 Q. Has Liberty ever taken the

position, to your knowledge, that other
insurance existed, as that term is defined in
6 the form policy, where the source of the

other insurance has denied payment to the

8 insured?
9 A. Not that I can recall exactly as
10 you laid out the question. There have been

circumstances where you see the definition of
other insurance includes self insurance.

13 Where Liberty has taken the position that

14 self insurance applies first, SIR would apply /
15 first. Of course, that happens often.
16 Q. Let me try my question with a

little bit more precision. Has Liberty ever
18 taken the position that other insurance, as

19 that term is defined in the form policy,

20 existed where the other insurance issued is a
at contractual indemnity and the party that
22

supposedly owes the indemnity has denied
23 payment to the insured?
24 A. Not that I can recall. Again,

29 remember, that oil patch operates with

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J. ENGEL
indemnifications all around, all the way up
through the chain of companies that it
operated in oil. So it is a unique industry.

Q. Has Liberty ever taken the
position with any other insured that the
potential that a contractual indemnity might
be applicable means its policy hasn't
attached pursuant to the other insurance
clause?

A. I think that's the question that
you just asked, worded a little differently.
So I would say I don't recall any situations.

MR. KORN: Let me mark as Engel
Exhibit 8 a two-page E-mail bearing
the Bates numbers LIU 10184 to ‘85.

(Whereupon, Engel Exhibit 8, LIU

10184 to '85 was marked for

identification as of this date by the

Reporter.)

Q. Please take a minute and let me
know when you have had a chance to review
this E-mail.

A. Okay.

Q. Is this an E-mail that you sent

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1 J. ENGEL

2 numbers CIC 0005127 through '29. Please take

3 a moment to review the letter that's marked

4 as Exhibit 11 and let me know when you are

° ready.

6 A. Okay. So I have read it.

7 Q. Okay. Do you see the first

8 sentence -- well, let me first ask, can you

9 please identify this document for the record?

10 A. Tt's a letter dated November 7,
14 2011, from Paul Koepff, our coverage counsel,
12 to Brad Eastman, deputy general counsel of |
13 Cameron Corporation.
i4 Q. Was this letter sent on behalf of

15 Liberty Insurance Underwriters, Inc.?

16 A. Yes.

17 Q. That's the same entity as Liberty

18 Tnternational or LIU that we have been

19 referring to throughout the course of

20 the day?

a1 A. Yes.

22 Q. Did you authorize the

23 transmission of this letter to Mr. Eastman?
(24 A. Yes.

29 Q. Did you review it in draft form?

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1 J. ENGEL
2 A. Yes.
3 Q. Did you approve its contents?
4 A. Yes.
5 QO. This letter was sent over a month
6 prior to the time when Cameron and BP entered
7 into their settlement agreement, correct?
8 A. That's correct.
9 Q. Did Liberty, in this letter,
10 decline to offer its policy limits to Cameron
11 at this time?
12 A. Yes, that's evident on the middle

13 of page 2.

14 Q. Thank you. Could you turn to

1s page 3.

16 A. Um-hum.
17 Q. The first full paragraph in the
18 second sentence, Mr. Koepff wrote, quote,
19 "LIU believes that until a Court determines
20 that Cameron is not entitled to contractual
24 indemnity, the LIU policy is excess of
22 Cameron's contractual rights to be
23 indemnified by Transocean." Closed quote.

24 Did I read that right?

25 A. Yes.

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1 J. ENGEL

2 Q. If. you can turn to the third page
3 of the exhibit, which is the first page of

4 the letter from Mr. Koepff. It starts off by
saying "On behalf of Liberty International

6 Underwriters, LIU." This makes is pretty

7 clear it is on behalf of LIU, right?

8 A. Yes.
9 Q. In Mr. Koepff's letter, he wrote
10 that "LIU is not in a position to object to

il the settlement amount of $250 million,"

12 right?

13 A. That's correct.

14 Q. And so LIU did not object to the
15 settlement amount itself, correct?

16 A. That's correct. We weren't ina

position to do so because our policy had not
18 attached. We were no more in a position to
19 do that than any of the other higher level
20 excess insurers whose policies had also not
a1 attached.

22 Q. If you follow along a little bit
23 later in the paragraph, Mr. Koepff wrote
"Moreover as previously expressed to Cameron

25 by letter dated November 7, 2011, LIU

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1 J. ENGEL
2 declines to offer any amounts under its
3 policy because the LIU policy has the

following other insurance provision” and then

° it reproduces the provision.

6 Do you see that?

7 A. I see that.

8 Q. Is it fair to surmise from this
9 that Liberty refused to offer any amounts
10 under its policy because its policy didn't
11 attach?

12 A. That's what this letter of

13 December 12th says, yes.

14 Q. I believe it is December 13th?
15 A. Sorry, December 13th.

16 Q. This is in response to

17 Mr. Auslander's E-mail writing from

18 Mr. Eastman's E-mail account of

19 December 12th --

20 A. That's correct.

21 Q. -- of 2011?

22 So Cameron told Liberty that a
23 tentative settlement agreement had been

24 reached for $250 million, right?

25 A. Right.

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1 J. ENGEL

2 Q. Liberty did not object to the

3 amount of the settlement, right?

4 A. For reasons that I stated, yes.

° Q. But Liberty said it would not

6 offer any amounts under its policies because
7 of the other insurance provision, right?
8 A. That's correct. |
9 Q. So fair to say by December 13,

10 2011, Liberty had decided not to make payment

1h to Cameron under the Liberty policy for the
12 BP settlement, correct?

13 A. That's correct.

14 Q. Okay. If you can turn to page 2

1s of the letter, the last page of the document.

16 In the second full paragraph in the middle it

7 says, quote "Right now, there may be no

18 determination that Cameron is not entitled to
19 indemnity from Transocean for pollution

20 damages." Do you see that?

al A. I do.

22 Q. It continues, quote, "Without

23 such a decision by the Court, it is LIU's

24 position that the LIU policy is excess of

25 that indemnity." Close quote.

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1 J. ENGEL

2 would it get the benefit of the other

3 insurance provision that you have described
4 today for purposes of the attachment point?
° A. Well, I think so. But I would

6 want to review the language more

specifically. But it's possible. But again,

8 I will repeat that I know that some of the

9 insurers up above did not have that clause in
10 their policies.
il Q. And if they did have -- granted

that you would like to review the provision,
13 but if Chubb had a restricted as underlying
provision that worked the way restricted as
15 underlying provisions generally work, would
16 it be fair to say that the Liberty position
was not unique in the tower?

18 MR. MARTIN: Object to form.

19 A. Again, you are asking me a

20 hypothetical question. I would really like
21 to see the entirety of that contract.

22 Q. All right. Getting back to the

23 diagram, by virtue of your interpretation of

24 the other insurance provision, the Liberty

25 International policy did not attach at

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1 J. ENGEL

2 $100 million as reflected in this tower,

3 correct?

4 A. That's correct.

5 Q. It attached somewhere higher than

6 that, right?

7 A. May not have attached at all.

8 Q. So it's outside of the -- so it
9 might have not been attached to the

10 $500 million?

11 A. Might not have.

12 Q. Is that because the Transocean

13 indemnity was potentially unlimited?

14 A. It was. And you also have to
15 understand that this tower applies to more
16 risk other than what was covered by the
17 indemnities, because there were risks that
18 Cameron had that weren't covered by the

19 indemnities.

20 MR. KORN: I will mark as Engel

21 Exhibit 18, an E-mail dated

22

January 26, 2012, bearing Bates number

23 CIC 0008725 through '27.
24° (Whereupon, Engel Exhibit 18,
2s CIC 0008725 through '27 was marked for

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